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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   CRISTIAN CEDENO,                                    Case No.: 1:24-cv-05207-RPK-RML

              Plaintiff,

   v.

   PIECE OF CAKE MOVING + STORAGE                      THIRD-PARTY COMPLAINT
   LLC, AND JOE DOE,

              Defendants,

   and

   PIECE OF CAKE MOVING & STORAGE
   LLC,

          Defendant/Third-Party Plaintiff,

   v.

   LENA MOVING INC. and MIRKO
   SARANOVIC,

          Third-Party Defendants.


         Defendant/Third-Party Plaintiff, Piece of Cake Moving + Storage LLC (“Third-Party

 Plaintiff” or “Piece of Cake”) by and through its attorneys, Genova Burns LLC, submit the

 following Third-Party Complaint against third-party defendants, MIRKO SARANOVIC

 (“Saranovic”) and LENA MOVING INC. (“Lena Moving”) (collectively, “Third-Party

 Defendants”), and states as follows:

                                  PARTIES AND JURISIDCTION

         1.         Third-Party Plaintiff, Piece of Cake brings this Third-Party Complaint in

 accordance with Federal Rule of Civil Procedure 14 because it arises out of the same transaction

 or occurrence that is the subject matter of plaintiff, Cristian Cedeno’s (“Plaintiff”) action.
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        2.      Piece of Cake is a limited liability company authorized to do business in the State

 of New York, with its principal place of business located at 405 Lexington Avenue, Suite 740,

 New York, New York 10174.

        3.      Lena Moving is, upon information and belief, a corporation authorized to do

 business in the State of New York, with its registered office located at 34-32 10th Street, APT 2F,

 Astoria, New York 11106.

        4.      Saranovic is, upon information and belief, a natural person and the owner and/or

 manager of Lena Moving.

                                    FACTUAL BACKGROUND

        5.      This matter relates to economic and non-economic injuries allegedly sustained by

 the Plaintiff on August 7, 2023.

        6.      Plaintiff’s Complaint alleges he was employed by Piece of Cake on August 7, 2023,

 and suffered injuries as a result of being “violently pushed” off a truck bed and not being paid “the

 promised compensation.”

        7.      Plaintiff’s Complaint asserts the following eight causes of actions against Piece of

 Cake: Assault; Interference with Person or Property - Outrageous Conduct Causing Emotional;

 Fair Labor Standards Act - Unpaid Minimum Wages; New York Labor Law - Unpaid Minimum

 Wages; Fair Labor Standards Act- Retaliation; New York Labor Law- Retaliation; Unpaid Spread-

 of-Hours Pay; and Negligence.

        8.      Pursuant to an Independent Contractor Agreement (the “Agreement”) with Piece of

 Cake, Third-Defendants, Saranovic and Lena Moving performed transportation, moving and

 logistics services on August 7, 2023, and upon information and belief, employed the Plaintiff. A

 true and accurate copy of the Agreement is attached hereto as Exhibit A.



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         9.      Pursuant to the Agreement, Piece of Cake and Saranovic and Lena Moving (the

 “Parties”), agreed that no employer-employee relationship existed between Piece of Cake and

 Saranovic and Lena Moving. Furthermore, the Parties agreed that Saranovic and Lena Moving’s

 employees/subcontractors would not be deemed employees of Piece of Cake.

         10.     The Parties agreed that the purpose of the Agreement was to engage Saranovic and

 Lena Moving as an independent contractor to provide transportation, moving, and logistics

 services, including but not limited to, loading, and unloading freight, padding or packing items for

 transport, driving trucks on public roads, carrying and moving boxes or freight, operating

 machinery such as lift gates, pallet jacks, and dollies for Piece of Cake.

         11.     At all times, Saranovic and Lena Moving agreed to comply with all applicable laws

 and regulations. This covenant included compliance with all Federal, State, and local laws,

 ordinances, and regulations, in regard to any and all said matters involving the hiring, tenure,

 conditions of employment, discharging of employees, and payment of their wages. Saranovic and

 Lena Moving promised to fully relieve Piece of Cake from and protect it against any responsibility

 or liability in regard thereto.

         12.     Specifically, the indemnification provision of the Agreement in Paragraph 7

 provides in relevant part:

         The Contractor shall defend, indemnify, and hold the Company harmless from
         any and all claims, demands, damages, suits, losses, liabilities and causes of
         action (together referred to as "Claims") arising directly or indirectly from
         this Agreement, or Contractor's, or Contractor's employees/subcontractors,
         relationship with Company or performance of the Services, including, but not
         limited to: (a) Claims arising directly or indirectly from Contractor's, or
         Contractor's employees/subcontractors, association with the Company, whether as
         an independent contractor, employee, or otherwise, and the termination of that
         association; (b) Claims under federal, state or local laws, statutes, constitutions,
         treaties, regulations, rules, ordinances or orders, including, but not limited to,
         claims under the New York Labor Law […] the Fair Labor Standards Act, […],
         each as amended, or any other federal, state, or municipal law; (c) Claims, […] for

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        overtime, commissions, or unpaid wages, whether based on common law or
        otherwise, and specifically includes all claims for unpaid overtime, improper
        deductions, travel time, spread of hours pay, […]; (d) any claims arising out of
        failure to withhold or pay taxes, provide unemployment or workers compensation
        benefits, maintain licenses or permits, damage to property, missing property,
        respondeat superior, negligent selection, hiring or supervision, and personal
        injury or death to any person, including Contractor and/or Contractor's
        employees/subcontractors; (e) […] (f) any other claim, whether for monies owed,
        reimbursement, attorneys' fees, litigation costs, damages, torts, intentional
        infliction of emotional distress, negligence, promissory estoppel, quantum meruit,
        breach of contract, breach of an implied covenant of good faith and fair dealing,
        constructive discharge, wrongful discharge, defamation, fraud, misrepresentation,
        or otherwise. The Company shall have the right independently to take, and the
        Contractor shall be obligated to pay for, whatever action the Company may
        deem necessary, including hiring legal counsel of its choice, in its sole
        discretion, to protect or defend itself against any legal action or threatened
        action subject to defense and indemnification.

        13.     Pursuant to the indemnification provision above which cover all the causes of

 actions pled against Piece of Cake in Plaintiff’s Compliant, Saranovic and Lena Moving are

 obligated to defend and indemnify Piece of Cake against all the claims alleged in Plaintiff’s

 Complaint.

        14.     Plaintiff was employed by and/or an independent contractor of Lena Moving and/or

 Saranovic with respect to the incidents alleged in the Complaint.

        15.     In a letter, dated October 31, 2024, Piece of Cake wrote to Saranovic and Lena

 Moving demanding defense and indemnification. Despite this demand, Saranovic and Lena

 Moving have failed to provide any response. As such, this suit follows.

        16.     While denying any and all liability to the Plaintiff, Piece of Cake submits that in

 the event Piece of Cake is found liable for any damages owed to the Plaintiff, then such liability

 and all damages owed to the Plaintiff are rightfully the responsibility of Third-Party Defendants,

 Saranovic and Lena Moving.




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                                            COUNT I
                                        Breach of Contract

         17.    Piece of Cake repeats and realleges each and every allegation set forth in the

 foregoing paragraphs of this Third-Party Complaint as though fully set forth herein at length.

         18.    Piece of Cake and Saranovic and Lena Moving were parties to a contract, namely

 the Agreement.

         19.    Saranovic and Lena Moving acknowledged and assented to be bound by the terms

 of the Agreement and was fully aware of its duties.

         20.    Nevertheless, Saranovic and Lena Moving failed to perform their obligations as

 required under the Agreement, which Plaintiff alleges has resulted in damages.

         21.    Plaintiff alleges economic and non-economic losses as a result of being “violently

 pushed” off a truck bed and not being paid “the promised compensation” on August 7, 2023.

         22.    The actions of Saranovic and Lena Moving in allegedly failing to adhere to federal

 and state labor and employment laws constitute a material breach of the contract.

         23.    The actions of Saranovic and Lena Moving in failing to abide by the terms of the

 Agreement constitute a material breach of the contract.

         24.    Saranovic and Lena Moving’s breach of the Agreement directly and proximately

 caused Piece of Cake to suffer damages in the amount of any liability to Plaintiff in this action.

         25.    To the extent Piece of Cake is liable to Plaintiff for any damages, they were caused

 by Saranovic and Lena Moving’s breach of its obligations under the Agreement.

         WHEREFORE, Piece of Cake demands judgment for compensatory and consequential

 damages, attorney fees and costs of suit, and other such relief as the Court deems equitable and

 just.




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                                            COUNT II
                                    Contractual Indemnification

        26.     Piece of Cake repeats and realleges each and every allegation set forth foregoing

 paragraphs of Third-Party Complaint as though fully set forth herein at length.

        27.     In this action, Piece of Cake denies all liability against Plaintiff’s claims, and asserts

 that any injuries sustained by the Plaintiff were attributable and/or caused by the sole liability of

 Saranovic and Lena Moving.

        28.     Piece of Cake is entitled to contractual indemnification for all sums which it is

 adjudged liable as Saranovic and Lena Moving had an express and implied duty to Piece of Cake

 to ensure that work would be performed with care and in conformance with the law and the

 Agreement.

        29.     Furthermore, by virtue of the indemnification provision in the Agreement,

 Saranovic and Lena Moving are obligated to contractually defend and indemnify Piece of Cake

 against Plaintiff’s claims.

        30.     As such, Saranovic and Lena Moving should rightfully be responsible for any

 damages Plaintiff proves to have suffered.

        WHEREFORE, Piece of Cake demands judgment for common law and contractual

 indemnification, compensatory and consequential damages, attorney fees and costs of suit, and

 other such relief as the Court deems equitable and just.

                                        COUNT III
                                  Common-Law Indemnification

        31.     Piece of Cake repeats and realleges each and every allegation set forth foregoing

 paragraphs of Third-Party Complaint as though fully set forth herein at length.




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        32.     In this action, Piece of Cake denies all liability against Plaintiff’s claims, and asserts

 that any injuries sustained by the Plaintiff were attributable and/or caused by the sole liability of

 Saranovic and Lena Moving.

        33.     Piece of Cake is entitled to common law indemnification for all sums which it is

 adjudged liable as Saranovic and Lena Moving had an express and implied duty to Piece of Cake

 to ensure that work would be performed with care and in conformance with the law and the

 Agreement.

        34.     Thus, Saranovic and Lena Moving are obligated to defend and indemnify Piece of

 Cake against Plaintiff’s claims.

        35.     As such, Saranovic and Lena Moving should rightfully be responsible for any

 damages Plaintiff proves to have suffered.

        WHEREFORE, Piece of Cake demands judgment for common law and contractual

 indemnification, compensatory and consequential damages, attorney fees and costs of suit, and

 other such relief as the Court deems equitable and just.

                                             COUNT IV
                                             Contribution

        36.     Piece of Cake repeats and realleges each and every allegation set forth foregoing

 paragraphs of Third-Party Complaint as though fully set forth herein at length.

        37.     As stated above, Saranovic and Lena Moving had a duty to comply with all federal

 and state labor and employment laws on August 7, 2023.

        38.     To the extent that Plaintiff has been damaged, by any alleged failure to comply with

 federal and state labor and employment laws and/or the terms of the Agreement, Saranovic and

 Lena Moving are responsible for all or a portion of such damages.




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            39.    If Piece of Cake is ordered to pay damages to Plaintiff, Saranovic and Lena Moving

 are liable to Piece of Cake for all damages arising from Plaintiff’s injuries.

            WHEREFORE, Piece of Cake demands judgment for contribution, compensatory and

 consequential damages, attorney fees and costs of suit, and other such relief as the Court deems

 equitable and just.



            WHEREFORE, by reason of the foregoing, Third-Party Plaintiff, Piece of Cake hereby

 respectfully requests the following relief:

            (a) Entry of judgment in favor of Third-Party Plaintiff, Piece of Cake on each and every

 cause of action;

            (b) That Third-Party Defendants, Saranovic and Lena Moving be held liable for the

 amount, if any, for which Third-Party Plaintiff, Piece of Cake may be liable as a result of claims

 asserted by Plaintiff in the main action;

            (c) Award of compensatory and consequential damages;

            (d) Costs of suit and attorneys' fees; and

            (d) Such other and further relief as the court deems just and proper.



                                   DEMAND FOR TRIAL BY JURY

            Third-Party Plaintiff, Piece of Cake hereby demands a trial by jury on all issues that are so

 triable.



                                          [Signature page follows]




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                                   GENOVA BURNS LLC
                                   Attorneys for Defendant,
                                   Piece of Cake Moving + Storage LLC

                                   By: /s/ Jessica B. Kim
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                                   Telephone: (973) 533-0777
                                   jkim@genovaburns.com

 Dated: April 23, 2025




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          EXHIBIT A
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________ Districtof of
                                                                      New   York
                                                                         __________

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                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No.
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
